                                                                         Case 18-34658 Document 540 Filed in TXSB on 07/28/20 Page 1 of 9




MOR-1                                                                UNITED ST A TES BANKRUPTCY COURT
CASE NAME               HouTex Builders LLC
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                                    MONTHLY OPERA TING REPORT SUMMARY FOR MONTH Febr1.1ary •
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MOR-1                                                                                                                             {PRINT NAME OF SJGNA TORY/
                                                    Case 18-34658 Document 540 Filed in TXSB on 07/28/20 Page 2 of 9



   CASE NAME:    HouTex Builders LLC
  CASE NUMBER:   18-34658



                                                               COMPARATIVE BALANCE SHEETS
ASSETS                                 MONTH               MONTH               MONTH             MONTH              MONTH             MONTH            MONTH              MONTH            MONTH             MONTH             MONTH            MONTH
                                       March               April               May               June               July              August           September          October          November          December          January          February
CURRENT ASSETS
Cash                                           86,458.47            1,527.02          4,485.92           3,655.43          1,264.70       151,451.15       151,918.63         132,707.22       119,290.88        569,101.66        569,101.66       568,126.66
Accounts Receivable, Net
Inventory: Lower of Cost or Market
Prepaid Expenses                               15,420.01           13,281.60         11,143.19           9,004.78             0.00              0.00               0.00             0.00              0.00              0.00             0.00              0.00
Investments
Other
TOTAL CURRENT ASSETS                       101,878.48              14,808.62         15,629.11          12,660.21          1,264.70       151,451.15       151,918.63         132,707.22       119,290.88        569,101.66        569,101.66       568,126.66
PROPERTY, PLANT & EQUIP. @ COST
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E                            0.00                0.00              0.00               0.00             0.00              0.00               0.00             0.00              0.00              0.00             0.00              0.00
OTHER ASSETS
 1. Tax Deposits
 2. Investments in Subsidiaries
 3. Electric Deposit*                           200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00                                                 0.00              0.00             0.00
 4. Real property*                        3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72                                                 0.00              0.00             0.00
TOTAL ASSETS                            $3,240,085.20 $3,153,015.34 $3,153,835.83 $3,150,866.93 $3,139,471.42 $3,289,657.87 $3,290,125.35 $3,270,913.94 $3,257,497.60                                          $569,101.66       $569,101.66      $568,126.66

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        CASE NAME:      HouTex Builders LLC
        CASE NUMBER:    18-34658



                                                                   COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                         MONTH             MONTH               MONTH               MONTH               MONTH               MONTH            MONTH             MONTH            MONTH            MONTH              MONTH             MONTH
EQUITY                                        March            April                May                June                July                 August           September        October           November         December          January           February
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                  209,368.46           211,472.19         257,104.42          256,381.92          271,870.96        443,211.19       454,310.08       455,452.40        456,557.87       457,700.19        458,842.51        459,911.13
PRE-PETITION LIABILITIES
 Notes Payable - Secured                        3,139,200.44      3,139,200.44        3,139,200.44        3,139,200.44        3,139,200.44        3,139,200.44     3,139,200.44      3,139,200.44     3,139,200.44     1,272,204.14       1,272,204.14      1,272,204.14
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                   540,340.04           540,340.04         540,340.04        540,340.04          540,340.04          540,340.04       540,340.04        540,340.04       540,340.04       540,340.04         540,340.04        540,340.04
 Other - Option fee                                                                                             500.00              500.00              500.00           500.00            500.00           500.00             0.00               0.00              0.00
TOTAL PRE-PETITION LIABILITIES                  3,679,540.48      3,679,540.48        3,679,540.48        3,680,040.48        3,680,040.48        3,680,040.48     3,680,040.48      3,680,040.48     3,680,040.48     1,812,544.18       1,812,544.18      1,812,544.18
TOTAL LIABILITIES                               3,888,908.94      3,891,012.67        3,936,644.90        3,936,422.40        3,951,911.44        4,123,251.67     4,134,350.56      4,135,492.88     4,136,598.35     2,270,244.37       2,271,386.69      2,272,455.31
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                       -386,665.48       -386,665.48        -386,665.48         -386,665.48             -386,665.48      -386,665.48      -386,665.48      -386,665.48       -386,665.48      -386,665.48        -386,665.48       -386,665.48
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date              -262,158.26       -351,331.85        -396,143.59         -398,889.99             -425,774.54      -446,928.32      -457,559.73      -477,913.46       -492,435.27     -1,314,477.23     -1,315,619.55     -1,317,663.17
TOTAL OWNER'S EQUITY (NET WORTH)                 -648,823.74       -737,997.33        -782,809.07         -785,555.47             -812,440.02      -833,593.80      -844,225.21      -864,578.94       -879,100.75     -1,701,142.71     -1,702,285.03     -1,704,328.65
TOTAL
LIABILITIES &
OWNERS EQUITY                                  $3,240,085.20    $3,153,015.34       $3,153,835.83       $3,150,866.93       $3,139,471.42        $3,289,657.87    $3,290,125.35    $3,270,913.94     $3,257,497.60     $569,101.66       $569,101.66       $568,126.66

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 CASE NAME:     HouTex Builders LLC
 CASE NUMBER:   18-34658

                               SCHEDULE OF POST-PETITION LIABILITIES
                                           MONTH              MONTH                 MONTH           MONTH           MONTH           MONTH           MONTH              MONTH            MONTH             MONTH             MONTH            MONTH
                                          March              April                 May             June            July            August          September          October          November          December          January          February
TRADE ACCOUNTS PAYABLE
TAX PAYABLE
 Federal Payroll Taxes
 State Payroll Taxes
 Ad Valorem Taxes
 Other Taxes
TOTAL TAXES PAYABLE                                   0.00                  0.00            0.00            0.00            0.00            0.00               0.00             0.00              0.00              0.00             0.00              0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
 1. Accrued interest on DIP Financing             1,548.22               2,033.31    2,576.62    3,176.17    3,838.65    4,882.38    5,981.27    7,123.59    8,229.06    9,371.38   10,513.70   11,582.32
 2. Dip financing                               196,732.71             198,351.35  243,151.35  243,151.35  268,032.31  438,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81  448,328.81
 3. Insurance payable                            11,087.53              11,087.53   11,376.45   10,054.40        0.00        0.00        0.00        0.00        0.00        0.00        0.00        0.00
TOTAL POST-PETITION LIABILITIES (MOR-3)       $209,368.46            $211,472.19 $257,104.42 $256,381.92 $271,870.96 $443,211.19 $454,310.08 $455,452.40 $456,557.87 $457,700.19 $458,842.51 $459,911.13
  *Payment requires Court Approval
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CASE NAME:     HouTex Builders LLC
CASE NUMBER:   18-34658

                                                           AGING OF POST-PETITION LIABILITIES
                                                           MONTH                February

    DAYS               TOTAL                 TRADE               FEDERAL               STATE            AD VALOREM,      Other
                                            ACCOUNTS              TAXES                TAXES            OTHER TAXES
0-30                         1,068.62                                                                                         1,068.62
31-60                        1,142.32                                                                                         1,142.32
61-90                        1,142.32                                                                                         1,142.32
91+                        456,557.87                                                                                       456,557.87
TOTAL                    $459,911.13               $0.00                   $0.00                $0.00            $0.00    $459,911.13

                                                           AGING OF ACCOUNTS RECEIVABLE



   MONTH

0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00              $0.00                   $0.00                $0.00            $0.00           $0.00

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                                                                             Case 18-34658 Document 540 Filed in TXSB on 07/28/20 Page 6 of 9



         CASE NAME:          HouTex Builders LLC
         CASE NUMBER:        18-34658
                                                                                           STATEMENT OF INCOME (LOSS)
                                                          MONTH                 MONTH                MONTH            MONTH          MONTH             MONTH           MONTH            MONTH            MONTH          MONTH            MONTH           MONTH           FILING TO
                                                          March                 April                May              June           July              August          September        October          November     December      January              February        DATE
REVENUES       (MOR-1)                                                                                                                                                                                                 2,400,000.00                                        4,975,000.00
TOTAL COST OF REVENUES                                                                                                                                                                                                 2,899,307.97                                        5,493,342.75
GROSS PROFIT                                                            0.00                  0.00             0.00           0.00              0.00            0.00             0.00             0.00           0.00   -499,307.97              0.00               0.00    -518,342.75
OPERATING EXPENSES:
   Selling & Marketing                                                                                                 -12,000.00                                                                                                                                              -12,000.00
   General & Administrative                                     22,126.44            25,518.45             1,275.33      2,603.10           1,415.73      1,602.78             962.32       1,875.41        1,215.18            212.00                                          78,865.93
   Insiders Compensation                                                                                                                                                                                                                                                             0.00
   Professional Fees                                                                  2,693.75                                                                                              7,757.50                       55,186.00                                            67,903.25
   Insurance                                                      2,138.41            2,138.41             2,138.41      2,138.41       -1,049.62                          -455.89                          3,467.63                                                            17,981.62
   Trustee fees                                                                       1,625.00                                             975.00                                             975.00                                                            975.00           5,200.00
TOTAL OPERATING EXPENSES                                       24,264.85             31,975.61          3,413.74       -7,258.49         1,341.11         1,602.78          506.43         10,607.91         4,682.81       55,398.00            0.00           975.00         157,950.80
INCOME BEFORE INT, DEPR/TAX (MOR-1)                           -24,264.85            -31,975.61         -3,413.74        7,258.49        -1,341.11        -1,602.78         -506.43        -10,607.91        -4,682.81     -554,705.97            0.00          -975.00        -676,293.55
INTEREST EXPENSE                                               40,454.23             57,197.98         41,398.00       10,004.89        25,543.44        19,551.00       10,124.98          9,745.82         9,839.00      267,335.99        1,142.32         1,068.62         641,369.62
DEPRECIATION                                                                                                                                                                                                                                                                         0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                                                                                                              0.00
OTHER ITEMS**                                                                                                                                                                                                                                                                        0.00
TOTAL INT, DEPR & OTHER ITEMS                                  40,454.23             57,197.98          41,398.00      10,004.89        25,543.44         19,551.00       10,124.98         9,745.82         9,839.00      267,335.99         1,142.32        1,068.62         641,369.62
NET INCOME BEFORE TAXES                                       -64,719.08            -89,173.59         -44,811.74      -2,746.40       -26,884.55        -21,153.78      -10,631.41       -20,353.73       -14,521.81     -822,041.96        -1,142.32       -2,043.62      -1,317,663.17
FEDERAL INCOME TAXES                                                                                                                                                                                                                                                                 0.00
NET INCOME (LOSS) (MOR-1)                                  ($64,719.08) ($89,173.59) ($44,811.74) ($2,746.40) ($26,884.55) ($21,153.78) ($10,631.41) ($20,353.73) ($14,521.81) ($822,041.96)                                               ($1,142.32)     ($2,043.62)    ($1,317,663.17)
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
               MOR-6
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  CASE NAME:        HouTex Builders LLC
 CASE NUMBER:       18-34658

CASH RECEIPTS AND                                             MONTH              MONTH              MONTH            MONTH          MONTH         MONTH            MONTH             MONTH             MONTH              MONTH             MONTH              MONTH            MONTH               FILING TO
DISBURSEMENTS                                                 February           March              April            May            June          July             August            September         October            November          December           January          February            DATE
 1. CASH-BEGINNING OF MONTH                                     $152,050.94       $150,527.68        $86,458.47      $1,527.02      $4,485.92      $3,655.43          $1,264.70       $151,451.15       $151,918.63        $132,707.22       $119,290.88        $569,101.66      $569,101.66                    $0.00
RECEIPTS:
 2. CASH SALES                                                                                                                                                                                                                                                                                                 0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                                                                                                                          0.00
 4. LOANS & ADVANCES (attach list)***                               39,600.00                           1,618.64      44,800.00                        24,880.96      170,296.50         10,000.00                                                                                                       448,328.81
 5. SALE OF ASSETS                                                                                                                                                                                                                             505,120.28                                                654,906.78
 6. OTHER (attach list)****                                                                                              288.92      12,500.00                                                                                                                                                            14,788.92
TOTAL RECEIPTS**                                                    39,600.00                0.00       1,618.64      45,088.92      12,500.00         24,880.96      170,296.50         10,000.00                 0.00              0.00      505,120.28                0.00                0.00      1,118,024.51
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                                                                                                                                          0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                                                                                                                                                0.00
 8. PAYROLL TAXES PAID                                                                                                                                                                                                                                                                                         0.00
 9. SALES, USE & OTHER TAXES PAID                                                                            50.00                                                                                                                                                                                            50.00
10. SECURED/RENTAL/LEASES                                                                                                                                                                                                                                                                                      0.00
11. UTILITIES & TELEPHONE                                              410.54              180.70           323.56         724.33        798.10          531.73         1,440.78              567.37             927.41          289.32             111.50                                                 8,957.10
12. INSURANCE                                                        2,089.29            2,094.29                                      1,322.05                                              -455.89                           3,467.63                                                                   20,513.44
13. INVENTORY PURCHASES                                                                                                                                                                                                                                                                                        0.00
14. INTEREST EXPENSES                                               31,410.07         39,952.97        56,712.89      40,854.69        9,405.34        24,880.96       18,507.27          9,026.09           8,603.50          8,733.53                                                                  379,746.63
15. TRAVEL & ENTERTAINMENT                                                                                                                                                                                                                                                                                     0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                  7,213.36         21,841.25        25,144.89           542.00      1,805.00          875.00             150.00           300.00              948.00           925.86               12.00                                              67,132.48
17. ADMINISTRATIVE & SELLING                                                                                                 9.00                          9.00              12.00            94.95                                                                                                          394.95
18. OTHER (attach list)                                                                                                                                                                                                                                                                                        0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                 41,123.26         64,069.21        82,231.34      42,130.02      13,330.49         26,296.69       20,110.05          9,532.52         10,478.91          13,416.34            123.50                0.00                0.00        476,794.60
19. PROFESSIONAL FEES                                                                                   2,693.75                                                                                            7,757.50                            55,186.00                                                 67,903.25
20. U.S. TRUSTEE FEES                                                                                   1,625.00                                         975.00                                               975.00                                                                       975.00          5,200.00
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                                                                                                                                                0.00
TOTAL DISBURSEMENTS**                                              41,123.26          64,069.21        86,550.09 42,130.02 13,330.49 27,271.69   20,110.05    9,532.52   19,211.41   13,416.34   55,309.50        0.00      975.00                                                                       549,897.85
22. NET CASH FLOW                                                  -1,523.26         -64,069.21       -84,931.45  2,958.90   -830.49 -2,390.73  150,186.45      467.48  -19,211.41  -13,416.34  449,810.78        0.00     -975.00                                                                       568,126.66
23. CASH - END OF MONTH (MOR-2)                                 $150,527.68         $86,458.47        $1,527.02 $4,485.92 $3,655.43 $1,264.70 $151,451.15 $151,918.63 $132,707.22 $119,290.88 $569,101.66 $569,101.66 $568,126.66                                                                      $568,126.66
                                                         * Applies to Individual debtors only
              MOR-7                                      **Numbers for the current month should balance (match)
                                                        *** Advance from Charles Foster
                                                        **** January - Refund from construction vendor on home sold in prior month
                                                        **** May - Refund of prepaid insurance
                                                        **** June - 12,000 return of escrow from sale of asset prior to bankrupty and 500 option fee
                                                            RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     HouTex Builders LLC
      CASE NUMBER:   18-34658

                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF February
BANK NAME                       Frost Bank
ACCOUNT NUMBER                  #*****6345              #                                    #
ACCOUNT TYPE                           OPERATING                           PAYROLL               TAX           OTHER FUNDS      TOTAL
BANK BALANCE                                 568,126.66                                                                          $568,126.66
DEPOSITS IN TRANSIT                                                                                                                    $0.00
OUTSTANDING CHECKS                                                                                                                     $0.00
ADJUSTED BANK BALANCE                      $568,126.66                               $0.00             $0.00            $0.00    $568,126.66
BEGINNING CASH - PER BOOKS                   569,101.66                                                                          $569,101.66
RECEIPTS*                                                                                                                              $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                                             $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL        DEBTOR MFR-2                                                                                                         $0.00
CHECKS/OTHER DISBURSEMENTS*                                975.00                                                                   $975.00
ENDING CASH - PER BOOKS                              $568,126.66                     $0.00             $0.00            $0.00    $568,126.66

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and
                                            TOTAL DISBURSEMENTS lines on MOR-7
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CASE NAME:        HouTex Builders LLC
CASE NUMBER:      18-34658


                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                 MONTH         MONTH         MONTH       MONTH          MONTH            MONTH            MONTH            MONTH             MONTH          MONTH        MONTH          MONTH         MONTH            MONTH
  INSIDERS: NAME/COMP TYPE                       January February March                 April           May             June             July             August             September October           November       December      January          February

 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                               $0.00         $0.00       $0.00            $0.00          $0.00            $0.00            $0.00            $0.00           $0.00         $0.00        $0.00           $0.00         $0.00            $0.00

                                                 MONTH         MONTH         MONTH       MONTH          MONTH            MONTH            MONTH            MONTH             MONTH          MONTH        MONTH          MONTH         MONTH            MONTH
         PROFESSIONALS                           January February March                 April           May             June             July             August             September October           November       December      January          February

 1. Schmuck, Smith, Tees & Co PC                                                           2,693.75              0.00             0.00             0.00             0.00             0.00     7,757.50           0.00          0.00             0.00           0.00
 2. Diamond McCarthy LLP                                                                                                                                                                                                  55,186.00             0.00           0.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS (MOR-1)                          $0.00         $0.00       $0.00 $2,693.75                 $0.00            $0.00            $0.00            $0.00           $0.00     $7,757.50        $0.00      $55,186.00         $0.00            $0.00

    MOR-9
